                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO. 3:07-00005
                                                      )       JUDGE CAMPBELL
OSCAR SERRANO                                         )

                                              ORDER

       Due to an ongoing criminal trial, the sentencing hearing in this case currently scheduled for

October 30, 2008, is RESCHEDULED for November 10, 2008, at 1:00 p.m. Also, the Motion for

Extension of Time to File Position (Docket No. 978) is moot in light of the new sentencing date.

       All motions for a departure or pursuant to United States v. Booker, 125 S.Ct. 738 (2005)

must be filed at least three (3) days before the sentencing hearing.

       In accordance with LCrR 32.01(c), at least seven (7) calendar days prior to the sentencing

date, the parties shall file a “Position of the (Government or Defendant) with Respect to Sentencing

Factors,” containing only unresolved objections to the Presentence Report. If the parties have no

objections to the Presentence Report, they shall so indicate in their “Position” filed with the Court.

The parties shall also serve a copy of their “Position” on the Probation Office upon its filing.

       It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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